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UNDER SEAL

UNITED STATES DISTRIC'I` COURT
DISTR_ICT OF NEW JERSEY

 

HOWMEDICA OSTEONICS CORP.,

Plaintiff, OPINION
V. :
ZIMMER, INC., CENTERPULSE Civ. No. 05-897 (WHW)(CLW)
OR'I`HOPED[CS, lNC. :
Det`endants.

 

Walls, Senior District Judge

This motion arises out of a patent dispute between Plaintiff Howmcdica Osteonics
(“Howmedica”) and Defendant Zimmer and Centerpulse Orthopedics (“Zimmer”). Alter eleven
years of litigation, all four of PlaintifFS patents have been invalidated Det`endant Zimmer now
moves for attorney fees and costs, expert costs, and prejudgment interest under 35 U.S.C. § 285.
Zimmer seeks to recover 813,496,086.86 in fees, $513,258.38 in costs, 31,016,599.29 in expert
costs, and 35,821,225.69 in prejudgment interest. Defendant’s motion for fees and costs is

granted in part.

FACTUAL AND PROCEDURAL BACKGROUND
'l`he long and complicated facts of this case have been fully recounted in the Court’s
previous opinions on Defendant’s motions for summaryjudgment, ECF Nos. 176, 247. ln short,
this case arises out of a patent dispute over a series of related patents filed by Plaintiff
Howmedica. These patents disclose processes for irradiating and heating polymers used in
medical implants which are intended to increase the usable life of the implants. Irradiating and

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heating polymer is commonly used to sterilize and strengthen polyethylene, but this process
creates atoms and molecules with unpaired electrons in their outermost electron shell known as
“free radicals.” These free radicals can cause oxidation and accelerated wear of the polymer if
exposed to oxygen. However, if the polymer is irradiated in an inert atmosphere, the free radicals
will become “crosslinked” and the polymer will exhibit superior wear characteristics The
patents at issue teach a process for heating and irradiating ultra-high-molecular-weight
polyethylene (UHMWPE) in an inert atmosphere using specific time and temperature
combinations to maximize crosslinking and decrease oxidation and wear.

Defendant Zimmer is a manufacturer and marketer of medical implant products. ln 2005,
Plaintiff brought this action against Defendant for the alleged infringement of four of
Howmedica’s patents: U.S. Patent No. 6,174,934 (“the ‘934 patcnt), U.S. Patent No. 6,372,814
(“thc ‘814 patent”), U.S. Patent No. 6,664,308 (“the ‘308 patent) and U.S. Patent No. 6,818,020
(“the ’020 patent”). Compl., ECF No. l.

On June l3, 2007, this Court granted Defendant‘s motion for partial summary judgment,
finding the ‘934, ‘814, and ‘308 patents invalid for indefiniteness because of their failure to
properly define a critical claim limitation, the “Arrhenius limitation." ECF No. 176, On August
19, 2008, this Court granted Defendant’s motion for partial summary judgment, finding that
Zimmer’s products did not infringe claims 7, lO, l l and 12 ofthe ‘020 patent. ECF No. 247.
Upon Zimmer’s request, the U.S. Patent and Trademarl< Ofiice (“PTO“) conducted an inter
partes reexamination of the ‘020 patent and rejected all of the ‘020 patent claims over prior art.
The Patent Trial and Appeal Board (“PTAB”) affirmed in part and reversed as to claims 7-12.
Both Howmedica and Zirruner appealed this decision to the Federal Circuit, which held that all

of the ‘020 claims were invalid due to prior art. Final judgment was entered on July 27, 2016.

id

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Order, ECF No. 424. Defendant Zimmer now moves for an award of fees, costs, expert costs and

prejudgment interest associated with its eleven-year defense of this action.

LEGAL STANDARD

35 U.S.C. § 285 authorizes the Court to award reasonable attorney fees to the party
prevailing in patent litigation in an “exceptional case.” To satisfy the statute, Defendants must
establish: (l) they are the prevailing party; (2) the case is exceptional; and (3) the fees are
reasonable Machi)ze)'y Co)'p. ofAme)'z'ca v. Gu/[jl`be)'AB, 774 F.Zd 467, 471 (Fed. Cir. 1935).
Defendants bear the burden to establish the exceptional nature of the case by a preponderance of
the evidence Octa)ie Fitness, LLC v. ICONHeaIth & Fitness, Inc., 134 S. Ct. 1749, 1758 (2014).

“[A]n ‘exceptional’ case is simply one that stands out from others with respect to the
substantive strength ofa party`s litigating positions (considering both the governing law and the
facts of the case) or the unreasonable manner in which the case was litigated.” Id. at 1756.
Exceptionality is determined by courts “in the case-by-case exercise of their discretion,
considering the totality of the circumstance.” [rl. An award of fees may be justified where a case
“present[s] either subjective bad faith or exceptionally meritless claims," or where a party has
engaged in misconduct, whether or not that conduct is independently sanctionable Id. at 1757.
In assessing the totality of the circumstances, courts can consider “nonexclusive factors,"
including “frivolousness, motivation, objective unreasonableness (both in the factual and legal
components of the case) and the need in particular circumstances to advance considerations of
compensation and deterrence." [a'. at 1756 n.6 (citing Foge)'ty v. sztasy. lnc., 510 U.S. 517, 534
n.l9. (1994)). While “there is no precise rule or formula” for determining ifa case is exceptional,

Octa)ze Fitness, 134 S. Ct. at 1756, “fee awards are not to be used ‘as a penalty for failure to win

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a patent infringement suit.”’ Gaymar I)zdus., lnc. v. Cincinnati Sub-Zero P)'ods.. Inc., 790 F.3d
1369, 1373 (Fed. Cir. 2015) (citations omitted). Even if a district court determines that a case is
exceptional, it remains within the court’s discretion to deny a fee award based on its familiarity
with the matter and the interest of justice. [con Health & Fit)zes.s, lnc. v. Octane Fit)'zess, LLC,
576 F. App‘x 1002, 1005 (Fed Cir. 2014).

The parties dispute the appropriate standard to assess Plaintiffs conduct before the PTO.
Defendants claim that the case may be exceptional even if inequitable conduct is not proved by
clear and convincing evidence Def.’s Br. at 19, n.5, ECF No. 436. Plaintiffs argue that because
inequitable conduct must be proven by clear and convincing evidence to invalidate a patent, the
same standard applies when determining whether a party’s conduct before the PTO renders a
case “exceptional.” Pl.’s Opp. at 6, ECF No. 445.

To find inequitable conduct before the PTO, the Court must find by clear and convincing
evidence that (l) the undisclosed reference was material and (2) the party acted with the specific
intent to deceive the PTO. T/iemsense, Inc. v. Becton, Dickz`nson, and Co., 649 F.3d 1276, 1290.
To satisfy the materiality standard, defendant must show that the PTO would not have allowed
the claim had it been aware of the undisclosed reference [d. at 1291. To satisfy thc intentionality
prong, the moving party must demonstrate that the applicant knew of the reference, knew it was
material, and made a deliberate decision to withhold it from the PTO. Id. The intent to deceive
may be inferred from conduct, but only if it is “the single most reasonable inference” that can be
drawn from the evidence Id.

While the Fedcral Circuit has not addressed the standard to apply when considering
conduct before the PTO for purposes of a fee award, the Supreme Court in Octane Fit)zess, LLC

v. lCONHea/th & Fitness, I)ic., 134 S. Ct. 1749, 1758 (2014) unequivocally held that the

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“preponderance of the evidence” standard applies in motions for attorneys’ fees under section
285. The Court will apply the “preponderarice of the evidence” standard to the Plaintiffs
conduct before the PTO. See DietGoal I)i)iovations LLC v. Chi`potle Me.\'i'cnn Gri'll, l)ic., No.
2:12-cv-00764, 2015 WL 1284669, at *5 (E.D. Tex. Mar. 20, 2015) (Bryson, J., sitting by
designation) (“['I`]he Court will consider [evidence of inequitable conduct] as part of the ‘totality
of the circumstances’ inquiry required by Octane, and the totality of the evidence . . . will be
weighed using the preponderance of the evidence standard.”); see also Nova)'ti's Co)'p. v.
Webve)i!i`on Holdi)igs LLC, No. CCB-l 1~3620, 2015 WL 6669158, at *4, n. 5 (D. Md. Oct. 28,
2015) (“Regardless of whether [the prevailing party] could establish that [the patent owner]
engaged in inequitable conduct before the PTO, this court finds that [the patent owner’s] actions
at leastjustify an inference ofimproper motivation or subjective bad faith, both of which can be
include a district court’s totality of the circumstances inquiry upon a showing of a preponderance
ofthe evidence."). Bi¢t see Robbi'ns Co. v. He)')'e)iknect Timne]i)ig Sys. USA, Inc., No.
5:13cv2113, 2015 WL 3454946, at *4 (N.D. Ohio May 29, 2015) (applying clear and convincing
standard to inequitable conduct allegations in motion for attorneys’ fees).

The Court will use the inequitable conduct framework of materiality and intent as a guide
in considering Plaintiff’s conduct before the PTO, but the relevant inquiry in this motion is only
whether the case “stands out from others with respect to the substantive strength of a party’s
litigating positions (considen`ng both the governing law and the facts of the case) or the
unreasonable manner in which the case was litigated.” Octane Fi`t/iess, 134 S. Ct. at 1756; see

Novarti's Corp., 2015 WL 6669158, at *4, n. 5.

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DISCUSSION
I. Defendant is the prevailing partv.

The parties do not dispute that Defendant is the prevailing party, as all of the patents in suit have

been invalidated, and judgment accordingly entered. Order, ECF No. 424.

II. The case is exceptional.

Defendant argues that this case is exceptional because (1) Plaintiff engaged in inequitable
conduct before the PTO, (2) Plaintiff engaged in litigation misconduct, and (3) Plaintiff breached
its disclosure duties before the PTO during reexamination

a. Conduct Before the PTO during patent prosecution

Defendant argues that this case is exceptional because Plaintiff engaged in inequitable
conduct before the PTO. Def.s’ Br. at 18. Defendant claims that Plaintiff withheld test data
produced by their employee Dr. Wang, three publications by Dr. Wang (“Wang Papers”), and
Dr. Wang’s affiliation with Plaintiff at the time of his declaration Defendant also argues that a
declaration by Dr. Deh-Chuaii Sun that Plaintiff submitted during the prosecution of an earlier
patent in the patent family constituted inequitable conduct as “affirmatively egregious
misconduct.” Id. at 21.

In response, Plaintiff contends that it did not engage in inequitable conduct. Pl.’s Opp. at
5 . Plaintiff maintains that it had no duty to disclose the omitted data because it was inaccurate
and inconclusivel Howmedica further argues that Defendant cannot prove that any of
Howmedica’s agents acted with the specific intent to deceive the PTO. Id.

i. Solubilitv and Swell Ratio Test Data During ‘934 Patent

During the prosecution of the ‘934 patent, the PTO initially rejected Howmediea’s claims
on the basis of a prior reference, the Streicher reference Two claims in the ‘934 patent contained
a limitation for “a solubility of less than 74.7%.” Rutsch Decl. Ex. l, U.S. Patent No. 6,174,934

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Bl (filed Jan. 23, 1998), ECF No. 429-1. Solubility relates inversely to crosslinking;
polyethylene with high crosslinking will have correspondingly low solubility, These claims were
rejected by the examiner as inherently disclosed by Streicher. Rutsch Decl. Ex. 18, 7/27/99 PTO
Office Action Summary at 3, ECF No. 429-18.

After the rejection, Howmedica employee Dr. Wang performed tests in an attempt to
demonstrate that the ‘934 material met the “less than 74.7%” solubility limitation, and that the
Streicher reference did not. Wang’s testing compared the Streicher material, the patented ‘934
material, and a control sample that was nitrogen-inadiated but not otherwise treated. Rutsch
Decl. Ex. 19, Ash Chopra, Interoffice Memorandum, ECF No. 429-19; Rutsch Decl. Ex. 20,
Swell Ratio/ Gel Content Data, ECF No. 433-1. The test provided two relevant sets of data; a
direct measure of the materials’ solubility, and a measure of the materials’ “swell ratio." Rutsch
Decl. Ex. 20, Swell Ratio/ Gel Content Data, Like solubility, “swell ratio” is inversely related to
crosslinking; highly crosslinked material will have a low swell ratio. The test provided two

results for both gel content and swell ratio. The relevant results of the tests are:

 

 

 

 

 

 

 

 

 

 

Material Gel Content ' Swell Ratio
Nz only 99.02 4.20
98.89 4.31
Duration I - 3.76
3.81
R.S. Material* 99.70 4.20
99.79 3.1 l
*Streicher material
Id.

The solubility test showed gel content for all materials, including Streicher, above

- This equates to approximately . solubility, far less than the 74.7% claimed in the

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patent, The solubility data indicated that the patented material was not measurably better than
Streicher, and that Streicher anticipated the claimed invention

The swell ratio data also indicated that the Streicher material was highly crosslinked The
swell ratio measurements of the patented invention were 3.76 and 3.81, averaging 3.785. Id. The
Streicher material had measurements of 4.20 and 3.11, averaging 3.655. Id. This indicated that
the Streicher material had a lower swell ratio, and therefore higher crosslinking, than the claimed
invention. The results were therefore consistent with the exarniner’s finding that Streicher
inherently disclosed the ‘934 patent,

Howmedica and Dr. Wang did not disclose the unfavorable data relating to Streicher. Dr.
Wang did not disclose any of the solubility test results (labeled “Gel Content” above), or the 3.11
Swell Ratio test result. Deni Cert. Ex. l, Decl. of Dr. Aiguo Wang 11 32, ECF No. 445-3. lnstead,
Dr. Wang provided the average of the two swell ratio test results for the patented material, 3.785,
and then ran an additional swell ratio test on the Streicher material, This additional test produced
a more favorable result of 3.96, which Wang averaged with the original 4.20 result and presented
this new total_4.08_--to the Examiner. ld. at'|'| 18; Rutsch Decl. Ex. 23, Aff. ofAiguo Wang,
ECF No. 430-2. Contrary to the initial test results, the results presented to the examiner indicated
that the patented material was, instead of less, more crosslinked than the Streicher material,

The Examiner responded that it did not find this attempt to overcome Streicher to be
persuasive Rutsch Decl. Ex. 25, 2/15/00 PTO Office Action Summary at 2, ECF No. 430-4. The
Examiner stated that from the swell ratio testing it was not clear (1) “whether the difference in
average swell ratio is a significant improvement (3.785 comparted to 4.08);” or (2) whether the
“difference results from the [patented process] or from the difference in form of the material." Id.

at 3. Dr. Wang then submitted a supplemental affidavit He clarified that there was no difference

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in the form of the materials. Rutsch Decl. Ex. 26, Supp. Aff. of Aiguo Wangj] 1, ECF No. 430~5.
He then stated that the Streicher swell ratio (4.08) was “not statistically different" from the
average swell ratio of the nitrogen-irradiated control sample (4.'.255.) Id. 11 7. Dr. Wang did not
address the comparison of 3.785 to 4.08 that concerned the Examiner. The Examiner granted the
patent on the basis of Dr. Wang’s representations Rutsch Decl. Ex. 28, Notice of Allowability at
2, ECF No. 430-7.

Defendant argues that Plaintiffcorrunitted inequitable conduct by failing to disclose the
solubility test data and the 3.11 swell ratio test result.

1. Solubility Data

Defendant argues that nondisclosure of the solubility test data constitutes inequitable
conduct. Defendant claims that the data is material because it “directly contradicted Applicant’s
and Dr. Wang’s arguments to distinguish the Streicher . . . prior art references." Def.s’ Br. at 19.
Defendant argues that the indistinguishable,. results for all materials reflect that all of the
tested materials were so highly crosslinked that they could not dissolve Def.’s Reply, ECF No.
449 at 5. Defendant argues that the intent to deceive is demonstrated because Plaintiff was in
possession of this data that it knew was consistent with the exarniner’s concerns regarding
Streicher, and also demonstrated by Dr. Wang’s failure to respond to the examiner’s concerns
that the .295 improvement over Streicher was not “statistically si griificant.” Def.’s Br. at 19-20.

Plaintiff responds that the solubility data was inconclusive, and did not need to be
disclosed Plaintiff argues that the test, which measured the materials’ solubility in xylene, was
an inappropriate method for measuring differences in solubility. Pl.‘s Opp. at 14. Plaintiff
contends that inaccuracy of the test is demonstrated by the reported gel contents of ~99% for the

control sample, which is known to have a lower gel content. Id.

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The Court cannot, on the basis of the evidence before it, determine whether the results
showing .gel demonstrated a high level of crosslinking of all tested materials, or merely
reflected a poorly-desigried test method As the Defendants have not demonstrated that the patent
would have been denied but-for the omission of the solubility data, the “materiality” prong is not
satisfied See Therase)ice, Inc., 649 F.3d at 1291.

2. Swell Ratio Data

Defendant argues that the omission of the 3.11 swell ratio data point also constitutes
inequitable conduct. Def.s’ Br. at 20. Defendant argues that the initial test confirmed that
Streicher was superior to the patented material, but that Plaintiff discarded the test. Id.

Plaintiff answers that the 3.11 data point was discarded not to manipulate the results, but
merely because it was inaccurate Pl.’s Opp. at 8. Plaintiff submits Dr. Wang’s Declaration
which says that the large variation between the two data points_’l.ZO to 3.11_-shows that one
result was inaccurate Deni Cert. Ex. l, Wang Decl. T| 17. Dr. Wang believed that the 3.11 value
was inaccurate because it was low as compared to the results of the other swell tests. Id. at 1] 18.
He stated that he discarded the 3.11 test result because the third swell test showing 3.96
confirmed his belief that 3.11 was inaccurate Id. at 11 19.

Again, with the record before it, the Court finds that the Defendant has not proved that
the patents would not have issued but for the withheld data. Consequently, the Defendant has not
demonstrated that the omission was material, See lee)'ase)ice, Inc., 649 F.3d at 1291.

However, the Court does take note of the withheld data for purposes of the totality-of-
the-circumstances inquiry. Octrme Fi`tness, 134 S. Ct. at 1756; Nova)'ti's Co)'p., 2015 WL
6669157, at *4-5 & n.5 (analyzing conduct before the PTO under totality of the circumstances

inquiry and finding case exceptional “[r]egardless of whether [the prevailing party] could

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establish that [the patent owner] engaged in inequitable conduct”). When faced with the
Examiner’s observation that Streicher anticipated the patent, Plaintiff ran tests producing four
Streicher data points; two solubility tests, and two swell ratio tests. Rutsch Decl. Ex. 20, Swell
Ratio/ Gel Content Data. When these results were unfavorable, Plaintiff used the single favorable
data point, conducted another swell ratio test, and presented the combined results to the
examiner. Deni Cert. Ex. I, Wang Decl. M 17, 32. Even if some of Dr. Wang’s data were
iinusual, the decision to only present the single favorable Streicher data point appears
disingenuous lt was also likely a violation of Plaintiffs broad disclosure requirements before the
PTO. See 37 C.F.R. § l.56(b)(2); Notice ofProposed Rulemalri'ng, 56 Fed. Reg. 37321, 37324
(Aug. 6, 1991).4 That Wang’s declaration convinced the examiner to issue the patents indicates
that the data were highly relevant to the ultimate patentability of the claims at issue, even if not
but-for material See Rutsch Decl. Ex. 28, Notice of Allowability at 2.

There is also evidence of intent to deceive the PTO. Dr. Wang failed to answer the
examiner’s questions about the swell ratio data in his supplemental affidavit See Rutsch Decl.
Ex. 26, Wang Supp. Aff. The Court rejects Plaintiff`s argument that Dr. Wang did not provide a
comparison between Streicher and the patented material because he was not asked. "[he examiner
had two concems; the shape of the samples, and whether the difference between Streicher and
the patented material was statistically significant Rutsch Decl. Ex. 25, 2/15/00 PTO Office
Action Summary at 3. In allowing the claims, the examiner again focused on these two issues;
the shape of the sainples, and the statistical difference between the swell ratio tests. Rutsch Decl.

Ex. 28, Notice of Allowability at 2. Dr. Wang’s supplemental affidavit directly responded to the

 

“ At oral argument, Plaintiffs counsel correctly noted that The)‘asense explicitly refused to adopt the Rule
56 standard as the test for “materiality” f`or inequitable conduct claims. Sept. 8, 2017, 'l`r. at 29-30.
I-lowever, as Counsel acknowledged, there is still a duty to disclose such information Id. at 28, iii 20-24.

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first concern but did not answer the second, and instead provided a different statistical
comparison Rutsch Decl. Ex. 26, Wang Supp. Aff.

Even if this did not constitute inequitable conduct, the Court finds that the selective
disclosure of data and evasive responses provided to the Examiner arc evidence of bad faith
leading to a finding that this is an exceptional case. See Novartis Corp., 2015 WL 6669158, at 4
n.5 (“Regardless of whether [the prevailing party] could establish that [the patent owner]
engaged in inequitable conduct before the PTO, this court finds that [the patent owner‘s] actions
at least justify an inference of improper motivation or subjective bad faith, both of which can be
included in the district court’s totality of the circumstances inquiry upon a showing of a
preponderance of the evidence Octa)ze Fz`tness, 134 S. Ct. at 1756 n.6, 1757.").

ii. Dr. Wang’s Employment

Dr. Wang had a critical role in obtaining Plaintiff's patents, submitting numerous
declarations to the PTO during the initial patent application process. At the time of the patent
application, Dr. Wang was employed by Stryker Technologies Corporation (“Stryker”).
Howmedica Osteonics Corporation was, and is, a subdivision of Stryker, and Stryker owned the
patent applications at issue However, Dr. Wang’s declarations to the P'l`O only said that he was
employed by Howmedica. At the time of the patent application, Howmedica had only recently
merged with Stryker.

Plaintiff argues that Dr. Wang never intentionally misrepresented his employment status
to the PTO. Plaintiff points to a “Terminal Disclaimer” explaining that the patent had been
assigned from the inventors to Howmedica, and then assigned from Howmedica to Stryker.

Plaintiff further argues that it was clear that Dr. Wang was employed by Stryker because of

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language in his affidavit which referred to “the Applicant perfom[ing] tests,” thereby suggesting
that Dr. W ang and “the Applicant” were one and the same Pl.’s Opp. at 17.

A declarant’s failure to disclose his or her relationship with the patent applicant can be
the basis for a finding of inequitable conduct. See Ferri'ng B. V. v. Bar)' Labs., 437 F.3d 1181,
1187-88 (Fed. Cir. 2006) (finding inequitable conduct where declarants failed to disclose
“ongoing and mutually beneficial relationship” with patent owner iri declaration submitted iri
response to request for “non-inventor" affidavits); Refac I)rl'l, Ltd. v. Lotus Dev. Co)'p., 81 F.3d
1576, 1583 (Fed. Cir. 1996) (finding failure to disclose relationship with applicant constituted
inequitable conduct when PTO required affidavits from disinterested persons). The court in
Ferri'ng B. V. v. Barr Labo)'ato)'i'es, [nc., 437 F.3d 1181, 1188 (Fed. Cir. 2006) held that a
“declarant’s . . . relationship[] with the applicant [is] material if (1) the declarant’s views on the
underlying issues are material and (2) the . . . relationship to the applicant [is] a significant one.“

lt is unclear whether the Fer)'i)ig B. V. standard survives the heightened “but for"
materiality requirement articulated in T/ierasense. However, T/zerase)ise confirmed that the
failure to disclose a relationship with the patent applicant may constitute inequitable conduct in
some circumstances See 649 F.3d at 1292 (citing Refac affirmatively, describing it as a case of
“affirrnative egregious misconduet”). After T/zerasense, courts have continued to hold that
applicants may engage in inequitable conduct by failing to disclose a declarant’s status as an
interested party. See F)'ont Row Tec/i., LLC v. NBA Medi’a Ve)ililres, LLC, 163 F. Supp. 3d 938,
988 (D.N.M. 2016) (finding inequitable conduct where applicant falsely described a declaration
as “independent analysis” and noting that the “[f]ailure to disclose an expert declarant’s
affiliation raises red flags"); Caron v. QiiicKirtz, 2012 WL 5497869 at *11 (D. Ariz. 2012)

(finding failure to disclose interested relationship to be material); Apotex, lnc. v. UCB, Inc., 970

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F. Supp. 2d 1297, 1321, 1328 (S.D. Fla. 2013) (finding failure to disclose financial relationship
to be both material and affirmative egregious misconduct, but noting that this omission alone
was not dispositive).

While the parties acknowledge that Wang was not an inventor, Sept. 8, 2017, Tr. at
48:22, there is no dispute that Wang had an outsized role in obtaining the patents at issue Id. at
14~15. Given his central role in the patent prosecution, Dr. Wang’s status as an employee of the
applicant was critical and subject to disclosure requirements before the PTO.

Dr. Wang failed to accurately disclose his employment relationship. No reasonable
reading of Dr. Wang’s declaration would create the impression that Dr. Wang was employed by
Stryker on any type of permanent basis, or for any purpose beyond the scope of expert assistance
with a patent application, The Temiinal Disclaimer submitted by the prosecuting attorney does
not make it clear that there is any type of corporate relationship between Howmedica, the initial
assignee, and Stryker. See Deni Cert. Ex. O, 12/9/99 Terminal Disclaimer, ECF No. 444-16. It is
disingenuous to suggest that Howmedica and Stryker were in the same chain of assignment
ought to have put the PTO on notice that Dr. Wang was ncta disinterested party. Plaintiffs
prosecuting attorney continued this in his deposition testimony, when he admitted that there
would have been no way for the PTO examiners to know of the relationship between Stryker and
Howmedica. Rutsch Decl. Ex. 41, Dep. ofRaymond Augustin at 303-306, ECF No. 433-6.

Whether the omission of Dr. Wang’s employment status is characterized as “material” or
“affirmatively egregious misconduct" is of no moment; the inquiry at hand is only whether,
considering the “totality of the circumstances,” this case is one that “stands out with respect to
the substantive strength of a party’s litigating position,” or whether it was litigated in an

“unreasonable” inanner. Octane Fitness, 134 S. Ct. at 1756; see Nova)'li`s Carp., 2015 WL

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6669158, at *4 n.5. The Court finds that the Plaintiff's failure to notify the Examiner that Dr.
Wang was an employee rather than an independent expert, is ari indication that this is an
exceptional case, litigated in an unreasonable inanner.

iii. The Wang papers

Zimmer contends that Plaintiffs also committed inequitable conduct by withholding
information from the PTO during the prosecution of the ‘020 patent. Def.s’ Br. at 19. The ‘020
patent claims “[a] medical implant comprising an irradiated ultra-high molecular weight
polyethylene having . . . a solubility ofless than 80.9% in trichlorobenzene,” and includes other
claims requiring solubility in trichlorobenzene Deni Cert. Ex. D, U.S. Patent No. 6,818,020 B2,
(filed June l3, 2003), ECF No. 444-5.

The Examiner rejected the claims over England, stating that England “would be expected
to inherently have a solubility in some solvent ofless than 80.9% in a selected solvent, or iri
[trichlorobenzene] . . . .” Rutsch Decl. Ex. 32, 11/15/03 PTO Office Action Summary at 3, ECF
No. 430-l l. Plaintiff then provided an affidavit from Dr. Wang stating that England would have
comparable solubility to material produced by “Method B," which would be 98.2% and therefore
not meet the limitation ofhaving solubility of“less than 80.9%.” Rutsch Decl. Ex. 34, Wang Aff`.
11 5, ECF No.430-13.

This affidavit is directly contradicted by earlier testing on Method B done by the inventor
of the patents, Dr. Sun, which found trichlorobenzene solubility of Method B to be 53.8%.
Rutsch Decl. Ex. 36, Letter from Frank Bichard to Dr. D.C. Sun (“Jordi letter"), ECF No. 433-5.
The testing showed solubility in trichlorobenzene below the 80.9% claimed in the ‘020 patent,
and far below the 98.2% that Dr. Wang stated in his affidavit. The results of the tests are

provided in a letter to Dr. Sun from JORDI laboratory, id., and also described in a series of

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papers published by the inventors of the patents and by Dr. Wang (“Wang papers”). Rutsch Decl.
Ex. 37, Wang Paper 3, ECF No. 430-16; Rutsch Decl. Ex. 38, Wang Paper 2, ECF NO. 430-17;
Rutsch Decl. Ex. 29, Wang Paper 1, ECF No. 430-18.

Defendant claims that Plaintiff committed inequitable conduct by withholding the Wang
papers because they directly contradicted Dr. Wang’s declarations that were submitted to the
Examiner. Def.s’ Br. at 20. Defendant argues that the Wang papers are material because the PTO
ultimately relied on them to reject the claims as disclosed by England. [d. Defendant contends
that Court can infer the intent to deceive the PTO. Id. at 22.

Plaintiff contends that the Wang Papers are not material because the PTAB ultimately
invalidated the ‘020 patent on other grounds and refused to endorse the Examiner’s reliance on
the Wang papers. Pl.'s Opp. at 16. Plaintiff further argues that the Defendant has not introduced
evidence of specific intent to deceive, because Dr. Wang “simply did not recall” the substance of
the papers. Id.

These arguments are unpersuasive lt is clear that the withheld information was material,
as the PTO ultimately relied on the Wang papers in rejecting the ‘020 patent. Rutsch Decl. Ex.
58, PTO Reexamination, ECF No. 431-12. Further, the Court cari infer materiality if the
applicant engaged in “affimiative egregious misconduct.” T/ierase)ise, 649 F.3d at 1292. Here,
Dr. Wang submitted an affidavit affirmatively presenting factual assertions contrary to the data
reported in his earlier work.

Under these circumstances, it is proper to infer deceptive intent from the very fact that the
papers were not disclosed lt is improbable that Dr. Wang forgot that he had written a series of
papers on the exact same subject on which he was now submitting an affidavit just five years

earlier. Because the material omission was a paper authored by very individual who failed to

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disclose it, the “single most reasonable inference” is that the patentee intended to deceive the
PTO. See T/zerase)ise, 649 F.3d at 1290 (holding that inference of deceptive intent is permissible
where that is the single most reasonable inference available).

Thcse facts are similar to those in Ohi'o Wi'l[c)w Wood Co. v. slips Soiith, LLC, 813 F.3d
1350 (Fed. Cir. 2016). There, the defendant initiated reexamination before the PTO, claiming
that the plaintiffs patents were obvious in light of prior art. Id. at 1353. The defendant supported
its claim by introducing testimony that the supposedly novel features of the claimed invention
already existed in the prior art. Id. The PTO agreed and rejected the claims for obviousness
I~Iowcver, the plaintiff appealed to the Board of Patent Appeals and lnterfcrences (the “Board")
and argued that the testimony was "'uncorroborated” testimony of an interested witness. The
Board discredited the testimony as “uncorroborated" and upheld the patent, reversing the
examiner. ld. at 1354.

However, the plaintiffs trial attorney was aware of a series of letters which corroborated
the testimony, contrary to the plaintiffs representations to the Board (“the Scalise letters”). [d. at
1355-56. The attorney did not provide the Scalise letters to the reexamination attorneys or the
Board. Id. The Federal Circuit found that the failure to disclose the letters constituted inequitable
conduct The court reasoned that evidence corroborating the disputed testimony Was material
because the Board had found the issue of “corroboration” to be determinative ld. at 1358. The
court inferred intent to deceive because the attorney “was aware of the 1999 Scalise letters and
knew that their contents were consistent with [the disputed] testimony." Id.

Like the letters in O/ii‘o Wz'l/ow Wood, the contents of the Wang Papers directly
contradicted the position taken by Howmedica regarding the solubility of Method B. Because the

Examiner ultimately relied on Wang’s declaration, the Wang Papers contradicting his statements

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are material [d. at 1358. Further, because the Wang Papers were authored by the very person
whose affidavit is at issue, the evidence of intent to deceive is stronger here than in Ghio Wi'llow
Wood,

Plaintiff argues that there was no duty to disclose the Wang papers because they were not
prior art, and that “it was not [the prosecuting attorney’s] practice to request non-prior art
materials." Pl.’s Opp. at 16. However, the same argument was rejected in Ohio Wi'llow Wood,
and is similarly rejected here See 813 F.3d at 1359 (noting that the question of corroboration
was different from prior art, and that the attorney “understood that [they] were separate
questions”). Here the relevance of the Wang Papers is not that they were prior art, but that they
directly contradict Dr. Wang’s affidavit offered to overcome initial rejection by the PTO.

Presenting the declaration from Wang which explicitly contradicted his publications, and
the failure to present the Wang papers themselves, are evidence of subjective bad faith leading to
the conclusion that this is an exceptional case

iv. Dr. Sun’s affidavit

Defendant also claims that Plaintiff committed inequitable conduct by submitting a
declaration by inventor Dr. Sun during prosecution of an earlier patent in the patent family
containing an affirmative misrepresentation about the state of the prior art. Defendant argues that
the declaration constitutes affirmative egregious misconduct because it contains a statement
directly contradicting data Sun had sent in a letter only two months earlier.

Plaintiff replies that there is no evidence that the affidavit was false, and that the affidavit
is consistent with the earlier letter. Plaintiff also says that there is no evidence of specific intent

to deceive the PTO.

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Dr. Sun declared to the PTO that the patented process resulted in a free radical
concentration of less than 1 x 10'7/g, and that “[f]ree radical concentrations are several orders of
magnitude higher without the process taught in the application, i.e., irradiation in air or
irradiation and heat treatment in air.” Rutsch Decl. Ex. 59, Decl. of Deh~Chuan Sun 11 5, ECF No.
43 1-13. However, Dr. Sun had written a letter two months earlier that “[w]e realize that one can
get lower free radical concentrations than this level [l x lO"/g], even without the stabilization
process described in the patent. But, the intention is to cover a broad range caused by various
dose, dose rates, and material responses." Rutsch Decl. Ex. 60, Letter from D.C. Sun to Patricia
Chawke at HOW024942, ECF No. 433-14.

These statements are in tension, but are not facially contradictory. Plaintiff argues that in
his declaration, Sun was trying to convey that heating and/ or irradiation in air will result in
higher free radical concentrations than heating and/ or irradiation in an inert atmosphere ln the
letter, plaintiff continues, Sun was merely saying that time and temperature combinations above
the patented process could minimize free radical concentrations to an even lower level than the
patented process, but that the patented process was preferable for other reasons.

Plaintist claim is plausible The declaration references “irradiation in air or irradiation
and heat treatment in air,” which indicates that Sun was comparing treatment in air to treatment
in an inert environment ln contrast, the letter states that the intention of the patent is to “cover a
broad range caused by various dose, dose rates, and material rcsponses,” which indicates that the
letter was discussing the optimal options for UHMWPE treatment, not comparing the patented
process to the prior art.

Based on the evidence before it, the Court does not find that the Sun declaration is

evidence ofbad faith or improper motivation

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b. Litigation misconduct

Defendant also argues that this case is exceptional because Plaintiff engaged in litigation
misconduct Specifically, Defendant contends that Plaintiff failed to withdraw its infringement
claims once it knew they were baseless in light of the Lue reference and took contrary positions
regarding its construction of “Arrhenius equation.” Def.s’ Br. at 12, 25. Defendant also contends
that Plaintiff took contradicting positions on the contents of the Wang papers. Ia'. at 13-14.

ln response, Plaintiff contends that Lue did not invalidate the ‘020 patent “on its face,”
and that it continued to litigate this case in “good faith." Pl.’s Opp. at 24. Plaintiff argues that it
did not change its construction of the Arrhenius limitation, and tliat, even if it did, such a change
would not render this case exceptional. Id. at 23-24. Plaintiff further contends that it changed in
position about the Wang papers in response to new information--specifically, a fourth Wang
Paper, Ia'. at 26.

A finding of exceptionality under 35 U.S.C. § 285 may be predicated on misconduct
during litigation Mono[i`t/ii'c Power Sys. v. 02 Mi'cro Int 'l, 726 F.3d 1359, 1366 (Fed. Cir. 2013).
ln determining whether litigation misconduct renders a case “exceptional,“ the Court may
consider the baselessness of a party’s claim, the party’s subjective bad faith, the objective
unreasonableness of its position, or the need for compensation and deterrence Octa)ie Fitness,
134 S. Ct. at 1756-57 & n.6; Kilopass Tec/z. v. Side)rse Corp. 738 F. 3d 1302, 1316 (Fed. Cir.
2013). The ultimate finding of exceptionality, however, is a “simple discretionary inquiry” and
does not turn on any “precise rule or forrnula." OCtane Fitness, 134 S. Ct. at 1756.

i. The Arrhenius limitation and the Lue reference
Three ofthe patents in suit contain a limitation requiring the UHMWPE be heated for a

temperature time “at least equivalent to heating said irradiated material at 50°C for 144 hours as

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defined by the Arrhenius’ equation (14).” See, e.g., ‘934 Patent, claim l. To avoid the difficulty
of applying the complex Arrhenius equation, Howmedica relied on a “General Rule” for its
construction of this limitation during patent prosecution and claim construction in this litigation
Rutsch Decl. Ex. 24, 12/9/99 Response to Second Office Action at 8, ECF No. 430-3; Decl. of
Stephen Li112l ECF No. 46-9. Plaintiff proposed that instead of applying the Arrhenius equation
precisely, one could apply the “General Rule” that similar cross-linking will occur if heating
time is cut in halffor every 10°C increase in heat Li Decl. 1121, ECF No. 46-9.

One year after Plaintiff filed its initial infringement claims, Defendant discovered a thesis
written by Ching-Tai Lue (“the Lue reference”). Rutsch Decl. Ex. 16, Ching-Tai Lue, Ejj"ects of
Gamma Ir)'adi'a!ion and Post Heat-Treatments of the Striictir)‘e and Meclianr`cal P)'ope)'lies of
Ultra Hi'gh Mo[ecirlar ll’ei'g/it Pol_vet/iylene, ECF No. 429-16. As a result of this discovery,
Defendant provided Plaintiff with an invalidity claim chart in May 2006 which showed that the
Lue reference anticipated their patents under the “General Rule” construction Rutsch Decl. Ex.
44, Lue Claim Chart, ECF No. 430-23. To overcome invalidity in light of the Lue reference,
Plaintiff changed position and argued that the General Rule was to be used as an “aid" to the
Court and the jury in understanding the Arrhenius equation, but was not intended to be used as a
literal substitute Pl’s Mot. to File Amended Cl. Const. Br. at l, ECF No. 74-1; see also Pl.‘s Br.
at 21, ECF No. 445. However, construing the Arrhenius limitation as a literal application of the
Arrhenius equation rendered the patents indefinite because the patents did not include enough
information for one skilled in the art to determine what other time/ temperature combinations
would meet this limitation. Opinion, ECF No. 176.

Defendant argues that Plaintiff ought to have recognized that its claims were baseless and

dismissed their lawsuit against Defendant Instead, Defendant continued to litigate its claims for

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ten more years. In 2016, the Federal Circuit found that the Lue reference did anticipate
Howmedica’s claims, rendering their patents invalid. How))iedica Osteonics Co)'p. v. Zimmer,
Inc., 640 F. App’x 951, 959 (Fed. Cir. 2016).

Plaintiff argues that it continued to pursue its claims in good faith after the discovery of
the Lue ref`erence, because Lue on its face did not invalidate Howmedica’s patents. While the
PTAB and the F ederal Circuit did ultimately invalidate the ‘020 patent in light of the Lue
reference, this was based on a recreation of Lue’s thesis, which had been conducted iri 1979 with
different materials Hoii'medica, 690 F. App’x at 957. At the time that the Lue reference was
disclosed, both Plaintiff and Defendant’s expert were unsure if the Lue thesis had been
accurately recreated. Plaintiff argues that given this uncertainty, its decision to challenge the
significance of the Lue reference and continue pursuing its claims it was reasonable and not in
bad faith,

This is a mischaracterization of the actions Plaintiff took after becoming aware of the Lue
thesis. lnstead of continuing to pursue its claims while attempting to test and accurately recreate
the Lue reference, Plaintiff adopted a new position that contradicted its earlier claim construction
and testing data in order to avoid invalidation by the Lue reference See Opinion, ECF No. 176 at
15, 16 (noting that Plaintiff's testimony iri support of its new claim construction directly
contradicted its earlier position).

Plaintiff argues that it never changed its construction of the Arrhenius limitation, and that
it had always intended the General Rule to serve as an estimate to the Court for approximation
rather than a literal substitute Pl.’s Br. at 22. But Plaintiff advocated the use ofthe General Rule

and not the Arrhenius equation during patent prosecution, Rutsch Decl. Ex. 24, 12/9/99

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Response to Second Office Action, and submitted affidavits unequivocally using the General
Rule as a substitute for Arrhenius’ equation See Li Decl. 11 21 ECF No. 46-9.

Plaintiff is correct that it was not required to accept the validity of the Lue reference on
its face, and it certainly would have been entitled to engage in expert testing of the thesis before
agreeing to dismiss its claims against Defendant l~lowever, by adopting a completely new and
contradictory position, Plaintiff demonstrated that it knew what Defendant, the Federal Circuit,
and the PTAB ultimately agreed upon: the Lue reference invalidated their patents. To continue to
pursue claims that it knew were baseless over a period of ten years amounts to litigation
misconduct The unreasonable nature of Plaintiff’s position is highlighted by its willingness to
advance an objectively unreasonable claim construction that directly contradicted the language
of the claims themselves See Opinion, ECF No. 176 at 17 (“ln short, neither Howmedica nor its
experts provide any basis for assuming that 4 hours at 130`C is equivalent to 144 hours at 50`C
[as required to support Howmedica‘s proposed claim construction].”).

An award of attorney fees and costs is appropriate in this instance to compensate
Defendant forced to defend itself against Plaintiff’s baseless claims.

ii. Plaintiff’s position on the Wang papers

 

Plaintiff argues that Defendant committed litigation misconduct by changing position on
the Wang papers. Plaintiff specifically argues that Defendant initially took the position that the
Wang Papers report solubility in trichlorobenene, but later changed course and argued that the
papers report solubility in xylene. Def.s’ Br. at 13.

Defendant maintains that its experts consistently took the position that solubility in
xylene did not correspond to solubility in trichlorobenzene Pl.’s Br. at 26. Defendant fiirther

points out that the PTAB ultimately accepted its argument that the two solvents have different

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solubility for UHMWPE. See Deni Cert. Ex. M, Smi`th & Nep/zew, [)ic. v. Hoii'medi`ca Osteonics
Corp. (Howmedica PTAB Appea[), No. 2013-007710 at 17 (P.T.A.B. Apr. 30, 2014), ECF No.
444-14.

The Wang papers provided unsatisfactory information about the solvent used to conduct
solubility testing One of the papers discloses the solubility of a material in “[b]oth
trichlorobenzene and xylene,” but provides only one set of results. Rutsch Decl. Ex. 39, Wang
Paper 1 at HOWO66652. This either indicates that the author used them interchangeably
believing that solubility in trichlorobenzene and xylene are equal, or that the study used only one
solvent The other papers do not indicate which solvent was used.

Plaintiff took contradicting positions as to whether the trichlorobenzene or xylene was
used in the Wang papers throughout litigation and reexamination During this litigation,
Defendant presented evidence using data from the Wang papers to demonstrate that the Lue
reference met the solubility limitation of “solubility less than 80.9% in trichlorobenzene.” Rutsch
Decl. Ex. 48, Expert Report of Susan P. James at 25-27, ECF No. 433-8. Defendant’s argument
that Lue met this limitation relied on its view that solubility in trichlorobenzene is equivalent to
solubility in xylene, or at least sufficiently correlated to use solubility in one as a measure for
solubility in the other. To rebut this evidence, Plaintiff’ s experts Dr. Li and Dr. Pruitt claimed
that the Wang paper “likely relates solely to trichlorobenzene.” Rutsch Decl. Ex. 49, Rebuttal
Expert Witness Report of Stephen Li at 54, ECF No. 433-9; Rutsch Decl. Ex. 50, Expert Witness
Rebuttal Report of Lisa A. Pruitt at 26, ECF No. 433-10. lf the Wang papers reflected testing
solely in trichlorobenzene then they provided no information about the relationship between
xylene and trichlorobenzene solubility, and would not be evidence that Lue invalidated the patent

under that theory.

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This position presented a problem because the Wang papers reported that prior art
material had solubility of 40-60%. If the testing reported in the Wang papers used
trichlorobenzene then the papers themselves disclosed a method of creating material with
solubility “less than 80.9% in trichlorobenzene” and would invalidate some claims of the ‘020
patent As a result, Plaintiff advanced the position during reexamination that the Wang papers
reflected solubility in xylene, not trichlorobenzene See Deni Cert. Ex. M, Howmedi'ca PTAB
Appea[, at 13-17.

During reexamination, the Examiner agreed with Defendants and invalidated claims 1
and 5 of the ‘020 patent based on the Wang papers, On appeal, the PTAB rejected this rationale
and found that the soluble used in the papers was likely xylene, and that the Wang papers did not
prove that xylene and trichlorobenzene have equivalent solubility, Id. at 17. The F ederal Circuit
ultimately invalidated the ‘020 patent in light of Lue relying on other rationale Howmedi'ca
Osteonics Corp., 6401 F. Appx. at 962.

While Plaintiff unarguably reversed its position on the Wang papers, this did not
constitute litigation misconduct Using the information presented, Plaintiff advanced different
positions about the solvent used in the Wang papers at different points of litigation and
reexamination l-Iowever, Plaintiff has maintained the same position throughout-that solubility
in xylene is not conclusive evidence of corresponding solubility in trichlorobenzene In Dr. Li’s
supplemental report in which he changes position on the solvent used in the Wang papers, he
maintains the ultimate position that “solubility in xylene does not necessarily differ from the
measured solubility in trichlorobenzene by about 15-20%, nor is it possible to predict the
difference in solubility." Rutsch Decl. Ex. 53, Supp. Expert Witness Rep. of Stephen Li at 18,

ECF No. 433-12. As the PTAB noted, the W ang papers are unclear about whether they reflected

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solubility data in xylene, trichlorobenzene or both. Deni Cert. Ex. M, Howmedica PTAB /lppeal
at 13 n 18 (noting that reports in one of the Wang papers “further confuses rather than clarifies
the range reported in [the earlier publication]"). Given this lack of clarity, and the consistency of
Plaintiff`s primary position on the relationship between the solvents, the Court finds that the
change in position was not litigation misconduct

c. Conduct during reexamination

Defendant next argues that Defendant “had Dr. Streicher and Dr. Li attempt to directly
contradict the Streicher prior art reference” duiing reexamination of the ‘020 patent in 2009.
Def.’s Br., at 14. Specifically, Defendant argues that Plaintiff improperly obtained a declaration
from Dr. Streicher, author of the Streicher reference stating that the Streicher material did not
exhibit the favorable characteristics of the patented invention ]d. At the time of the declaration,
Dr. Streicher was employed by Plaintiff.

Plaintiff asserts that the Streicher material did not exhibit the favorable wear
characteristics of the claimed invention Plaintiff maintains this disagreement does not constitute
litigation misconduct, but is merely an ordinary dispute over the meaning ofevidence. Pl.’s Opp.
at 28.

The Court finds it implausible that Plaintiff believed that Streicher’s declaration was
consistent with the Streicher article The Streicher article repeatedly references characteristics
central to these patents. lt describes the Streicher material as having “enhanced crosslinking” and
“negligible” oxidation, and states that its method “reduces postoxidation effects significantly."
Rutsch Decl. Ex. 10, Robert l\/f. Streicher, I)ivestigati'on on Ste)'i'lizati'on and A/Iod{/icatio)z of
Hi'g/r Mo[ecirla)‘ Wer`glit Polyethylenes by lonr`zi`ng Ir)'adi`ation at 39, 43, ECF No. 429-10. ln

contrast, Dr. Streicher states in his declaration that the Streicher material exhibited “substantial

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oxidation,” and that “a person of ordinary skill in the art . . . would not have used or pursued
annealing UHMWPE after irradiation because it failed to eliminate or appreciably reduce
oxidation, wear or degradation.” Rutsch Decl. Ex. 57, Decl. of Robert Streicher111 22-23, ECF
No. 431-11. Dr. Streicher takes this position despite finding that the material exhibited a 40%
reduction in oxidation Id. (“While on its face a 40% reduction in oxidation appears to be a vast
improvement in oxidation resistance, I observed substantial oxidation of the [Streicher]
UHMWPE material . . . .”).

Dr. Streiclier’s declaration facially contradicts the content of the Streicher reference The
thrust of the Streicher reference was that its method would increase crosslinking and decrease
oxidation The examiner acknowledged the blatant contradiction between Dr. Streicher’s
declaration and the content of the Streicher reference, noting that the Streicher article “in fact
repeatedly acknowledges a significant reduction in oxidation achieved by the irradiated and
annealed samples,” and that the Streicher declaration “goes so far as to state that the 40%
reduction in oxidation reported in the Streicher article is not actually significant lt is unclear
what degree of reduction Streicher in his declaration, would consider significant" Rutsch Decl.
Ex. 58, PTO Reexamination at 34-35. Tliis objectively unreasonable position supports a finding
that this is an exceptional case

d. Totality of the circumstances

Based orr the totality of the circumstances, the Court finds that this case is exceptionall
Regardless whether the failure to disclose the solubility testing or Streicher swell test data
constitutes inequitable conduct, the Court finds that these omissions demonstrated bad faith, and
were more likely than not violations of Plaintiff`s duty of candor before the Examiner. Further,

Plaintiff submitted a series of affidavits by Dr. Wang containing representations directly

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contradicted by the Wang papers and earlier testing by the inventor, Wang also failed to disclose
the Wang papers, as well as his employment relationship with the patent applicant and the
inventor. When faced with the prior art that ultimately invalidated the patents in suit, Plaintiff
proposed a new, facially indefinite claim construction that directly contradicted its earlier
position During reexarnination, Plaintiff obtained a declaration from the author of the Streicher
reference (one of the biggest hurdles to patent validity other than Lue) attempting to contradict
and discredit his own earlier work. 'l`he PTO repeatedly and consistently rejected Plaintiff’s
attempts to utilize swom statements by its experts to manipulate and conceal the content of their
own earlier research. The Court rejects Plaintiff`s contention that Wang “forgot" the content of
the Wang Papers, and similarly rejects, as discussed, the argument that Dr. Streiclier’s
declaration is consistent with the Streicher reference
lII. Defendants’ fec request is reasonable

The Court has decided that this case is exceptional, and it decides an award of reasonable
attorneys‘ fees is appropriate See Specia[ Devices, Inc. v. UEA, Inc., 269 F.3d 1340, 1344 (Fed.
Cir. 2001) (describing section 285 as a “two-step analysis of first determining whether the case is
exceptional and then determining the amount of the award”); Machine)y Cor'p., 774 F.2d at 470-
71 (noting that “the fees must be reasonable”).

Defendant moves for 813,496,086.96 in attorneys’ fees, 5513,258.38 in expenses,
$l ,016,599.29 in expert fees, and $5,821,225.69 in prejudgment interest Def.s’ Br. at 30.

Plaintiff raises several objections to Defendant’s proposed award. Plaintiff first objects to
the hourly rates charged, claiming that the proposed rates are not consistent with the District of
New Jersey. Sept. 8, 2017, Tr. at 40. Plaintiff also objects to certain costs, including airport

parking, fax charges, and library loan fees, Ia'. at 44. Plaintiff further objects to the award of

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expert fees, claiming that even if this case is exceptional, it does not constitute fraud on the Court
such that expert fees are justified ld. at 39. Finally, Plaintiff objects to the rate of interest to be
used in calculate prejudgment interest Id. at 38,
a. Calculation of Fees

The Court begins its determination of a reasonable attomey fee award by calculating the
lodestar amount Pa. E)rv't Def Foiuid. v. Canon-A»IcMi'llan Sch. Disl., 152 F.3d 228, 231 (3d
Cir. 1998). The lodestar is the “number of hours reasonably expended on the litigation multiplied
by a reasonable hourly rate.” He)zsla_v v. Eckerha)'t, 461 U.S. 424, 433 (1983). “To show the
reasonableness of a requested rate, counsel must produce satisfactory evidence - in addition to
their own affidavits -~ that the requested rates are in line with those prevailing in the community
for similar services by lawyers of reasonably comparable skill, experience, and reputation.“
Spect)'um Proa'irce Disl/'r`buling, I)ic. v. F/'eslr Ma)'keti‘)ig, I)rc., Civ No. 1 1-06368 (JBS/ KNW),
2012 WL 2369367, at *4 (D.N.J. June 20, 2012) (alterations omitted) (quoting Bliim v. Stenson,
465 U.S. 886, 896 n.11 (1984)).

Local Civil Rule 54.2 governs fee awards, and requires the party seeking fees to provide
certain materials to the Court, including affidavits setting forth the nature of services rendered, a
record of the dates and times of services rendered, a description of the services rendered on each
date, a description of the professional experience of each person rendering serviccs, the normal
billing rate for each person rendering services, any fee agreements, and the amounts actually
billed to the client and paid by the client. See L.Civ.R. 54.2(a)-{b). ln the 35 U.S.C. § 285
context, Courts generally consider hourly time records and expense statements along with
documentation iri support of the movant’s billing rates as compared with those prevailing in the

community for similar work, taking into account the attomeys’ skill and experience See Sou)'ce

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Search Techs., LLC v. Kayak Softwa)'e Corp., No. ll-3388(NLH/KMW), 2016 WL 1259961, at
*9 (D.N.J. Mar. 31, 2016). The party seeking an award of fees has the burden to provide
evidence supporting the hours worked and rates claimed Hensley, 461 U.S. at 434. To the extent
the affidavits and supporting documentation submitted by the party seeking fees “leaves any
doubt as to the amount of fees to be awarded, these doubts shall be resolved against an award of
fees.” Spectrum Produce, 2012 WL 2369367, at *3 (quoting Veneziano v. Long Island Pipe

Fabrication & Supply Co)'p., 487 F. Supp. 2d 683, 695 (D.N.J. 2002)).

i. Hourly Rate

Defendant submitted billing records that show that sixteen different attomeys, five
paralegals, and two assistants performed work on this matter. Rutsch Decl. Ex. 68, Decl. of
Bryan Hales, Ex. C, ECF No. 431-22. Attomeys from three different law firms performed work
on this matter: Tompkins, McGuire, Wachenfeld & Barry LLP (“'l`ompkins McGuire”), Kirkland
& Ellis LLP (“Kirkland”), and Latham & Watkins LLP (“Latham"). [d. In support of its request,
Defendant has submitted the following documentary exhibits: (1) biographical information about
the individual_attomeys; (2) invoices from each law firm; (3) a matrix of thc billing rates and
hours billed for each attorney; (4) daily time entries showing the date, attorney name, description
of work performed, and the amount of time spent dating back to 2005; and (5) a declaration of
Chuck Chandler, the founder of Valeo Partners, comparing the requested billing rates to the
billing rates charged by similar law firms. Hales Decl. Ex.’s A-E.

The rates Defendant seeks for the work performed on this case range from S220/ hour to
31295/ hour for attorneys and $125/hour to 5240/hour for paralegals. Id. Ex. C. Thi`s range of

hourly rate are reflected in the matrix of billing rates and hours billed. The rates are broken into

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two charts, one reflecting the work performed by Kirkland, and the other reflecting work done by
Tompkins McGuire.

The rates charged by Kirkland range from 3220/hour (Associates in 2005) to $1295/hour
(Partner in 2016). Defendants submitted a declaration of Chuck Chandler (the “Chandler
Declaration"), founder of Valeo Partners, a legal intelligence firm that collects the billing rates of
law Hrrns. Id. Ex. E. The Chandler Declaration analyzes the proposed billing rates against Valeo
Partners’ compiled billing data, taking into consideration practice area, experience, and firm size
and expertise, using a national average Id. 11 7. Chandler uses the AMLAW 50 Listings as the
benchmark for the Kirland and Latham attorneys. The analysis compared the rate charged for
each individual timekeeper each year to the national average, and provided the percentage that
the individual timekeeper was charging over or under the national average Because Kirkland
and Latham afforded Defendant a series of discounts beginning in 2009, Chandler provided the
over/under percentage statistics before and after the discounts were applied. Chandler Decl. Ex.’s
D, E, Kirkland & Ellis and Latham and Watkins Data.

Mr. Chandler’s data revealed that the Kirkland and Latham attorneys billed, on average,
4% below peer firms for the time period of 2005-2016 pre-discount. See Chandler Decl. 11 8.
Taking into account these discounts, Defendant’s attorneys billed on average ll% below peer
firms. ld. 11 9.

Plaintiff contends that these billing rates are too high. Pl.’s Opp. at 30. In its Reply Brief,
Plaintiff asserted that it “reserve[d] the right to challenge the amounth [Defendant’s] fees" until
after the Court ruled on the issue of exceptionality, Plaintiff claimed that it did not argue the
issue of fee calculation because the fee award “must bear soriie relation to the extent of the

misconduct,” and Defendant did not make an effort to apportion its fee request accordingly. Id.

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(quoting Read Corp. v. Portec, [nc., 970 F.Zd 816, 831 (Fed Cir. 1992) superseded on other
g)'otmds, as recognized by Hoesc/zt Cela)iese Corp, v. BP C/zems. Ltd., 78 F.3d 1575 (Fed Cir.
1996)). However, this argument makes little sense; apportionment is appropriate when the
prevailing party would have incurred some of the expended attorney fees even without the
misconduct that renders the case exceptional. See Beckmmi I)istruments v. LKB Produkzer AB,
892 F.Zd 1547, 1553 (Fed. Cir. 1989) (finding apportionment appropriate because the prevailing
party “would have incurred substantial legal expenses regardless of the [losing party’s]
misconduct”). As the Defendant’s exceptionality theory here is that Plaintiff committed
inequitable conduct that led the PTO to issue the patents, Defendant would not have incurred any
attorneys’ fees related to this litigation without Plaintiff's misconduct See irl. (apportioning fees
because “[i]n this respect, the case differs from cases in which . . . inequitable conduct on the
part of patentee led to the bringing of the lawsuit” (emphasis in original)). Becausc it was clear
that Defendant sought fees covering the entirety of this litigation, the appropriate time to argue
that apportionment is necessary was in answer to this motion

At oral argument, Plaintiff also argued that the billing rates are excessive because they
are based on a national average rather than the local rates of the Distn`ct of New Jersey. Sept. 8,
2017, Tr. at 40. When asked, Counsel suggested to look to the American Intellectual Property
Law Association (AIPLA) rates for guidance, but was unable to provide proposed alternative
rates. Counsel then submitted a letter attaching the AIPLA rates, and arguing that the applicable
region for Newark is “Other East.” Letter from William Deni, ECF No. 456. Other than Mr.
Deni’s assertion, Plaintiff did not provide any documentary evidence that “Other East” is the
appropriate location for Newark fee calculation as opposed to New York City Consolidated

Metropolitan Statistical Area (New York CMSA).

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ln contrast, Defendant has submitted the Chandler Declaration in support of its
contention that the applicable standard is national rather than local. Chandler declares that law
firms such as Kirkland and Latham generally use a “national rate in all major US Cities, varying
those rates by experience and practice specialization, not by location.” Hales Decl. Ex. E,
Chandler Decl. 11 7. Chandler further declares that Newark is considered part of the New York
Combined Statistical Area, which is the highest overall rate in the Valeo Database, and that the
national average is used in the interest of conservativism. Id. Newark is but fifteen miles from
meeting with New York Manhattan and Wall Street metropolitan

The Court finds Chandler’s declaration persuasive, and will therefore use the AMLAW
50 Average as the basis for comparison Given the highly specialized area of law, thc expertise
required, and the exorbitant 52 billion damages sought by Plaintiff in this case, this AMLAW 50
national rate is appropriate Even if the Court were inclined to apply the A[PLA rates rather than
the AMLAW 50, Plaintiffs have not submitted any evidence to support their argument that the
“Other East” rates should apply, while Defendant has submitted a declaration that the applicable
geographic region would be “New York CMSA.”

Applying the AMLAW 50 Average provided in the Chandler Declaration, the fees sought
are reasonable in part and unreasonable in part. While Chandler’s analysis shows a billing rate on
average 1 1% below the AMLAW 50 Average, some individual rates charged exceed this
Average. Having determined that the AMLAW 50 is appropriate, the Court finds unreasonable
any billing rate more than 5% above that AMLAW 50 Average for a given period.

Based on this, the following fee rates shall be reduced from the rate charged to the

AMLAW 50 Average:

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Year Timekeeper Rate Charged to AMLAW 50
Zimmer Average

2005 Ann Mari`e T. Wahls 8370* 3318

2007 Imron T. Aly 3480 S457

2007 Shauiab A. Atique $403 3345

2008 (Jul-Dec) Bryce A. Budin and $420** 3359
Bryan C. Rutsch

2009 Bryce A. Budin and 8405 3374
Bryan C. Rutsch

2010 Dennis J. Abelnour 8419 3390

 

 

 

 

 

 

* For years in which all rates charged exceeded the AMI_.AW 50 Average, the Court refers to the
Blended Rate provided in Exhibit E to the Chandler Declaration for the full year.

** While Chandler provides a blended average billing rate for each year, the Court will modify
only the portion of the year in which the rate charged exceeded the AMLAW 50 Average.

Further, since 2012, only 27.1 hours were billed to an attorney below the level of
Counsel. During this tiine, there was a significant amount of work done by attorneys billing at a
high rate that could have been achieved by more cost-effective actors. Since 2012, the Court has
identified 50.55 hours of work done by Counsel-level attorneys that consisted of general legal
research or initial drafting that could have been done by an Associate with a lower billing rate.
These hours, billed by Mr. Rutsch, are: 8.25 hours in 2012 (2/6/12); 12 hours in 2013 (10/11/13
and 10/16/13); 11.3 hours in 2014 (5/15/14 and 6/10/14); and 19 hours in 2015 (1/05/15, 4/23/15,
and 8/23/15). The Court will apply a billing rate of $405 for these hours, as Mr. Rutsch’s highest
billing rate as an Associate.

The Court also finds any billing rate above $900/hour to be unreasonable Therefore, a
billing rate of 5900 will be applied to: Mr. Pals, 2014 ($956.25 post-discount), 2015 ($1,015.75
post~discount), and 2016 (31,100.75 post-discount); Mr. Hales, Jan-June 2016 (8922.25 post-
discount) and July 2016 ($956.25 post-discount); and Mr. Callahan, 2015 (S930.75 post-

discount) and 2016 ($977.50 post-discount). Hales Decl. Ex. C.

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Mr. Chandler separately compared the billing rates of local counsel Tompkins McGuire
to peer firms and found that the two Tompkins McGuire attorneys respectively billed 6% and
32% below peer firms. Chandler Decl.11 l 1. The Court finds the fees of local counsel to be
reasonable and awards fees for local counsel at the rates requested

The Chandler Declaration also looked at the billing rates of support staff and found that
the work performed on this matter by paralegals and assistants was billed at a significantly lower
rate than the industry average. See id. 11 12. Support staff on this matter Were billed out at an
average discounted rate of $l39/hour, as compared to an industry average of $206/average. This
is comparable to prevailing rates for paralegal work in the Third Circuit. See U.A. Local 322
Pe)isi'on Fima' v. J.R. McG'ee Plumbz`)ig Ltd. Liab. Co., No. CV 16-3738 (RMB/KMW), 2017 WL
498692, at *4-5 (D.N.J. Feb. 7, 2017) (awarding attorney fees for paralegal work at the hourly
rate of $ 125). The Court finds Defendant’s requested hourly rate for paralegals and other support
staff reasonable, and awards fees for support staff at the rates requested

ii. Time Reasonablv Expended

The Court next determines how much time was reasonably expended on the matter.
Publi`c I)ilerest Research Groiip ofN.J., Inc. v. Wi)iall, 51 F.3d 1179, 1188 (3d Cir. 1995). To
establish the reasonableness of the time spent litigating this matter, Defendant submitted over
400 pages of unredacted daily time entries, containing a narrative description of each task
performed Hales Decl. Ex. D. Defendant requests fees for a total of 29,854.95 attorney hours
and 6433.25 paralegal and support staff hours. See Hales Decl. Ex. C. Plaintiff has not
challenged Defendant’s calculation or recording of hours reasonably expended

Though a majority of the requested hours were reasonable, the Court finds Defendants’

billing unreasonable in part. The Court finds Defendants’ billing unreasonable to the extent it

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includes hours billed due to inexperience, hours billed for tasks that should have been performed
by more cost-effective actors, and hours for tasks that took an excessive amount of time to
complete See Spectrilm Produce, 2012 WL 2369367, at *5-10.

The bulk of the hours billed in the early years of this litigation were billed by
inexperienced attorneys including those who were not yet admitted to the bar. See Hales Decl. 11
9 (B. Rutsch and B. Budin not initially admitted to practice); cf Hales Decl. Ex. C (B. Rutsch
1399 hours for 2006, B. Budin 1520.25 hours for 2006). While the use of junior attorneys can
keep costs low and is coinmendable, the Court finds that the large number of hours billed for
work by inexperienced and inefficient actors is unreasonable

In his Declaration, Mr. Hales explains that once Budin and Rutsch were added to this
matter, “Attorney Min Wang provided stopgap support until Mr. Rutsch and Mrs. Budin were
admitted to practice after graduation from law school.” Hales Decl. at 3. The Court finds that the
hours billed to Min Wang are duplicative ofthose billed to Budin and Rutsch during that time,
and those 229.75 hours will be reduced from Budin and Rutsch's combined 867 hours from that
year, with a combined total for Budin and Rutsch in 2005 of 637.25 hours at the rate of
$220/hour.

Similarly, in 2007, Thomas W. Osier was added to this matter as an Associate with no
legal experience, and billed 478.5 hours between October and December. Of those, 39.25 hours
were spent reviewing documents to become acquainted with the matter (October 3, 4, 5, 8, and
9). Those hours will be reduced from Osier’s total, with a total of469.25 hours at a rate of

$255/hour.

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Reduction Calculations:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Year Name Hours Rate Modified Amount
Charge Reduced

2005 Ann Marie Wahls 409 5318* 8130,062 $21,268

2005 Rutsch and Budin 637.25* 8220 3140,195 $50,545

2007 Imron Aly 691 .5 8457* 5316,015.5 $l5,904.5

2007 Thomas Osier 469.25* 8255 8119,658.75 $2,358.75

2008 (Jul- Rutsch and Budin 482.25 3359* Sl73,l27.75 $29,417.25

Dec)

2009 Rutsch and Budin 1,628.5 8374* 5609,059 $63,484.25**

2010 Dennis Abelnour 13.25 5390* $5,167.5 3384.25

2014 Mark Pals 20.5 $900* $18,450 $l,153.13***

2015 Mark Pals 46 $900* $41,400 85,324.50***

2015 David Callahan 184.1 5900* 8165,690 85,661.08***

2016 Mark Pals 6.3 8900* $5,670 31,264.73***

2016 David Callalian 57.8 $900* $52,020 81,777.35***

2016 (Jan- Bryan Hales 36.4 3900* 332,760 3809.90***

June)

2016 (July) Bryan Hales 3.1 5900* $2,790 Sl74.38***

Total 8199,527.10

Reduction

 

 

 

 

 

 

 

* This reflects an amount modified by the Court.

** This calculation reflects the difference between the Modified Charge and 3672,543.25, the
sum ofthree separate billing rates for 2009: Jan-April ($252,947.50); May-Jun ($219,622.50);
and July-Dec. (3199,973.25). Hales Decl. Ex. C. These totals reflect the 10% discount applied
beginning in May.

*** This calculation reflects the difference between the Modilied Charge and the original
amount charged, calculated as the Hourly Rate reflected in Hales Exhibit C, reduced by 15%.

As the Court finds the fee award otherwise reasonable, the Court will reduce this total
reduction from the $13,496,086.96 charged to Defendant, and awards a lodestar total of
813,296,559.90 in fees for attorneys and legal and paralegal assistants

b. Award of Costs

Defendant petitions the Court for 3513, 258.38 in costs expended for travel, legal

research, document reproduction and storage, communications, translation services and

deposition holding Hales Decl. Ex. F. The reasonableness of costs is assessed on the same basis

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as attorney fees, Lough)ier v. Uni'versity of Pittsburgh. 260 F. 3d 173, 181 (3d Cir. 2001). A
petition for costs must be specific enough to allow the Court to determine if the costs claimed are
unreasonable for the work performed ld. Defendant has submitted a detailed breakdown of all of
their costs. Hales Decl. Ex. F.

Plaintiff objects to certain of these expenses Specifically, Plaintiff objects to an award of
airport parking, fax expenses, and library loan fees. Sept. 8, 2017, Tr. at 44. In the Court’s
judginent, these costs were all rendered necessary by the nature of this litigation and the Court
finds them to be reasonable Defendant is awarded their requested costs of$513, 258.38.

c. Expert Fees

Defendant seeks an award of $l,016,599.29 in expert fees. The Court has the authority to
award expert fees where an award of attorneys fees under § 285 is an inadequate sanction on the
non-moving party. MarcTec, LLC v. Joh)iso)z & Jo/inson, 664 F.3d 907, 921 (Fed. Cir. 2012).
Not every case qualifying as exceptional under § 285 will qualify for the additional sanction of
awarding expert fees, Takeda Chem. [)zdus. V. Mylan Labs., 549 F. 3d 1381, 1392 (Fed. Cir.
2008).

Having found this case exceptional, and awarded attorney fees and costs under § 285 , the
Court does not find that Plaintiff's conduct in this matter was so egregious that it justifies the
additional award of expert fees, See Amsted Iridus. v. Buckeye Steel Castings Co., 23 F.3d 374,
378 (Fed. Cir. 1994) (award of expert fees reserved for cases where the court makes a finding of
fraud or where “the very temple of justice has been defiled”). Defendant’s request for expert fees

is denied

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d. Pi'ejudgmcntlntci'cst

Defendant seeks $5,821,225.69 in prejudgment interest Defendant argues that the Court
should apply the prime interest rate rather than the T-Bil| rate. Def.s’ Br. at 30. Plaintiff responds
that thc T-Bill rate is appropriate, because Defendant has not demonstrated that it actually
borrowed at the higher interest rate. Sept. 8, 2017, Ti'. at 38.

Prejudgment interest is not properly awarded under § 285, but where thc Court has made
a finding of exceptionality under § 285, it may exercise its inherent authority to award
prejudgment interest as a form of equitable relief Matliis v. Speclrs, 857 F.2d 749, 760 (Fed. Cir.
1988). However, not every prevailing party under § 285 is entitled to an award of prejudgment
interest Id. l~laving already awarded Defendant a large sum in attorney fees and costs under
section 285, the Court declines to exercise its discretion to award an additional $5 million in

prejudgment interest. Defendant’s request for prejudgment interest is denied.

CONCLUSION
Having found this case exceptional under 35 U.S.C. § 285, Defendant’s motion for
attorney fees and costs is granted in tlic reduced amount of$13,296,559.90 in fees and
8513,258.38 in costs. Defendant’s requests for expert fees and prejudgment interest are denied

An appropriate order follows

 

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